                     Case 4:10-cr-00228-LPR Document 125 Filed 03/26/14 Page 1 of 2
    *
A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1




                             v.

                   RAY JOHNSON                                                     Case No.                  4: 10CR00228-03 JLH
                                                                                   USMNo.                    26104-009
                                                                                                                            Kim Driggers
                                                                                                                        Defendant's Attorney
THE DEFENDANT:
X   admitted guilt to violation of condition(s)        ...:;S~ta~n~d::;:a:;:.;rd::!.l,....::S;:.~;p~e::::ci~·a~l_ _ _ _ _ of the term of supervision.

D   was found in violation of condition(s)            - - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                                                          Violation Ended
Standard                     Failure to notify probation officer of change of address                                                     December 30, 2013
Standard                     Failure to obtain employment                                                                                 January 24, 2014
Special                      Failure to pay $100 special penalty assessment                                                               January 24, 2014




       The defendant is sentenced as provided in pages 2 through ---=2'--- of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 0391

Defendant's Year ofBirth:          1956

City and State of Defendant's Residence:
                  Pine Bluff Arkansas
                                                                                              I. J,eon Holmes, J!nited States District Judge
                                                                                                                      Name and Title of Judge

                                                                                                                          March 26, 2014
                                                                                                                                    Date
                       Case 4:10-cr-00228-LPR Document 125 Filed 03/26/14 Page 2 of 2
AO 245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment

                                                                                                 Judgment- Page _..=,2_ of    2
DEFENDANT:                     RAY JOHNSON
CASE NUMBER:                   4:10CR00228-03 JLH


                                                                 IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of:

                         FOUR (4) MONTHS with no term of supervised release to follow


   X The court makes the following recommendations to the Bureau of Prisons:
     The Court recommends defendant participate in nonresidential substance abuse treatment during incarceration.




   X   The defendant is remanded to the custody of the United States Marshal.

   0   The defendant shall surrender to the United States Marshal for this district:
          0    at  - - - - - - - - - 0 a.m.                        0     p.m.    on
          0    as notified by the United States Marshal.

   0   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          0    before 2 p.m. on
          0    as notified by the United States Marshal.
          0    as notified by the Probation or Pretrial Services Office.

                                                                         RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                      to

at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                                By
                                                                                           DEPUTY UNITED STATES MARSHAL
